
Per Curiam.
Arnold Watkins petitions this Court for a writ of habeas corpus, claiming that he is entitled to a new trial on drug-related charges based on ineffective assistance of appellate counsel. Specifically, Watkins argues that appellate counsel should have raised on direct appeal a claim of ineffective assistance of trial counsel for failing to advise Watkins of an entrapment defense. We dismiss the petition as untimely filed. See Fla. R. App. P. 9.141(d)(5). In so doing, we reject Watkins' claim that the two-year filing deadline should be excused in this case to correct a manifest injustice. "Appellate counsel is not ineffective for failing to raise a claim of ineffective assistance of trial counsel on direct appeal because such claims are more effectively raised in a motion for postconviction relief under rule 3.850." Stewart v. Crosby , 880 So. 2d 529, 531 (Fla. 2004).
DISMISSED.
B.L. Thomas, C.J., and Ray and Winokur, JJ., concur.
